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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

STATE AUTOMOBILE MUTUAL                      §
INSURANCE COMPANY                            §
                                             §
       Plaintiff                             §
                                             §
v.                                           §
                                             §
FREEHOLD MANAGEMENT,                         §          CIVIL ACTION NO.
INC. AND RETAIL PLAZAS, INC.                 §          3:16-cv-02255-L
                                             §
       Defendants                            §
                                             §
v.                                           §
                                             §
FREEHOLD MANAGEMENT,                         §
INC., RETAIL PLAZAS, INC., AND               §
RPI DENTON CENTER, LTD.                      §
                                             §
       Counter-Plaintiffs                    §

      DEFENDANTS AND COUNTER-PLAINTIFFS’ BRIEF IN SUPPORT OF
     AMENDED MOTION FOR PARTIAL SUMMARY JUDGMENT ON STATE
                  AUTO’S AFFIRMATIVE DEFENSES

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Defendants, Freehold Management, Inc. and Retail Plazas, Inc., and Counter-

Plaintiffs, Freehold Management, Inc., Retail Plazas, Inc., and RPI Denton Center, LTD.

(hereafter collectively “Freehold” or “the Freehold Entities”) file this brief in support of

their amended motion for partial summary judgment on State Auto’s affirmative

defenses. In support of this motion, the Freehold Entities would show this honorable

Court the following:




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                            SUMMARY OF THE ARGUMENT

      During discovery in this case, Plaintiff was unable to adduce any evidence on its

affirmative defenses of failure to mitigate, that Freehold failed to use all reasonable

means to save and preserve the Property; that the damage occurred outside the policy

period; or that Freehold maintained the Property in a faulty manner. (Document 26 at ¶

11, 23, 25, and 26) As a result, Freehold is entitled to summary judgment on these

matters. See Stevenson v. Nationwide Prop. & Cas. Ins. Co., No. 3:12-CV-4564-L, 2014

WL 1356504, at *4 (N.D. Tex. Apr. 7, 2014) (“Defendant need not disprove Plaintiff's

claims, but need only to show that Plaintiff, who bears the burden of proof, has

adduced no evidence to support an element essential to her claims.”); see also Teply v.

Mobil Oil Corp., 859 F.2d 375, 379 (5th Cir.1988) (citing Celotex Corp. v. Catrett, 477

U.S. 317, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986)).

                                FACTUAL BACKGROUND

A. Undisputed Facts

      Freehold Management purchased an insurance policy from State Auto to cover

property losses during a period of September 30, 2013 through September 30, 2014, at a

shopping center located at 500-1900 W. University Dr., Denton, Texas 76201 (hereafter

“the Property”). (Document 1 at ¶3.01, admitted at Document 16-1¶ 3.01) On or about

April 3, 2014, during the subject policy period, a wind and hail storm struck the Denton

area. (Document 1 at ¶3.02, admitted at Document 16-1¶ 3.02) After the storm,

Freehold Management thereafter reported a claim for damages to the Property to Frank

Swingle of Swingle, Collins & Associates, who reported same to State Auto. (Document

16-1 at ¶7.01, admitted at Document 26 ¶ 4)




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      State Auto sent two adjusters, Sherri King and Paul Douglas to adjust Freehold’s

insurance claim. (Document 16-1 ¶7.02, admitted at Document 26 ¶5) In addition,

David Teasdale of Haag inspected certain portions of Denton Center on behalf of State

Auto and issued a June 10, 2014 report. (Document 16-1 ¶7.03, admitted at Document

26 ¶6) In his report, Mr. Teasdale acknowledged that hail up to 3-1/2 inches had been

reported in the area, but concluded that smaller hail, of one to two inches, damaged

most of the buildings. (Document 16-1 ¶7.03, admitted at Document 26 ¶6) Despite the

presence of damage at the same location, Mr. Teasdale also concluded that the roof

above the Kroger suite in Denton Center was not damaged by the storm. (Document 16-1

¶7.03, admitted at Document 26 ¶6) Mr. Teasdale also found that wind did not damage

the property. (Document 16-1 ¶7.03, admitted at Document 26 ¶6)

      During the course of the claim, State Auto made payments totaling $1,036,397.17

to Freehold Management for hail damage from the subject storm. (Document 16-1 ¶7.05,

admitted at Document 26 ¶7)

B. Disputed Facts

      On July 15, 2014, State Auto issued a partial denial of the Freehold entities’ claim

including partial denial of the built up roofs stating “Our investigation has determined

that some of the damages to the roof structures are not covered under the

aforementioned policy,” and relied on Haag’s conclusions. (Appendix page 47 at

Deposition pages 175:23-176:5 and at Appendix pages 70-75)

      Disagreeing with State Auto’s findings, Freehold Management hired Matt Phelps

of APEC Engineering and Laboratory LLC (hereinafter “APEC”) to conduct an

independent inspection of the Kroger roof damage. (Appendix pages 80-81 at

Deposition pages 7:18-10:2 and at Appendix pages 106-315 and Appendix pages 316-



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581) APEC found that both wind and hail from the subject storm had damaged the built

up Kroger roof and that it needed to be replaced. (Appendix pages 80-81 at Deposition

pages 7:18-10:2 and at Appendix pages 106-315)

      The Freehold Entities provided APEC’s report on the Kroger roof to State Auto.

(Appendix page 55 at Deposition pages 207:8-208:7 and at Appendix pages 76-77)

Thereafter, State Auto informed Freehold Management that it found APEC’s report

unpersuasive, rejected APEC’s conclusions, and stood by its denial for payment of the

Kroger roof damage, based upon Haag’s report. (Appendix page 55 at Deposition pages

207:8-208:7 and at Appendix pages 76-77)

      On June 20, 2016, the Freehold Entities sent State Auto a demand letter.

(Appendix pages 582-585) State Auto acknowledged receipt of the letter on July 28,

2016. (Appendix page 586) Instead of trying to resolve the matter, State Auto’s response

to the demand letter was to file a declaratory action against Freehold in Federal Court

on August 3, 2016. (Document 1)

      After State Auto filed suit, APEC created a second report regarding the additional

built up roofs at the Denton Center, which it determined all of the roofs needed to be

replaced due to the damage caused by the subject storm. (Appendix pages 80-81 at

Deposition pages 7:18-10:2 and at Appendix pages 316-581) The Freehold Entities’

current estimates for replacement of all of the built up roofs (including Kroger) and

underlying decking at the Denton Center damaged by the April 3, 2014 storm are in the

range of approximately $14,000,000-$16,000,000. (Appendix pages 744-764 and

Appendix pages 765-794)




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                          RELEVANT PROCEDURAL BACKGROUND

           On August 3, 2016, State Auto filed for a Declaratory Judgment requesting that

    the Court find:




           (Document 1)

         The Freehold Entities filed counterclaims for breach of contract, violations of

    the Texas Insurance Code, violations of the Texas Deceptive Trade Practices Act, and

    breach of the common law duty of good faith and fair dealing. (Documents 6, 16-1,

    and 25) On August 24, 2017, Plaintiff filed its amended answer to Freehold’s counter

    claim, asserting multiple affirmative defenses. (Document 26)

         The discovery period in this case ended on June 4, 2018. (Document 52 at 4)

This case is set for trial on February 4, 2o19. (Document 92)

                               ARGUMENT AND AUTHORITIES

A. Legal Standard

         “Summary judgment shall be granted when the record shows that there is no

genuine dispute as to any material fact and that the moving party is entitled

to judgment as a matter of law.” 1 “A dispute regarding a material fact is “genuine” if

the evidence is such that a reasonable jury could return a verdict in favor of the



1Reed v. LKQ Corp., No. 3:14-CV-4412-L, 2018 WL 3328424, at *2 (N.D. Tex. July 6, 2018);
Roberts v. Overby-Seawell Co., No. 3:15-CV-1217-L, 2018 WL 1457306, at *6 (N.D. Tex. Mar.
23, 2018); Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 323-25 (1986); Ragas v.
Tennessee Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998).




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nonmoving party.” 2 “When ruling on a motion for summary judgment, the court is

required to view all facts and inferences in the light most favorable to the nonmoving

party and resolve all disputed facts in favor of the nonmoving party.” 3 “Further, a court

may not make credibility determinations or weigh the evidence in ruling on

a motion for summary judgment.” 4

        “Once the moving party has made an initial showing that there is no evidence to

support the nonmoving party’s case, the party opposing the motion must come forward

with competent summary judgment evidence of the existence of a genuine dispute of

material fact.” 5

        “[When] the record taken as a whole could not lead a rational trier of fact to find

for the nonmoving party, there is no ‘genuine [dispute] for trial.’ ” Matsushita, 475 U.S.

at     587.    (citation   omitted).    “Mere      conclusory     allegations    are     not

competent summary judgment evidence,         and    thus   are   insufficient   to     defeat

a motion for summary judgment.” 6 Unsubstantiated assertions, improbable inferences,

and unsupported speculation are not competent summary judgment evidence.

See Forsyth v. Barr, 19 F.3d 1527, 1533 (5th Cir. 1994).


2Reed, No. 2018 WL 3328424, at *2 ; Roberts, 2018 WL 1457306, at *6; Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986).
3Reed, No. 2018 WL 3328424, at *2 ; Roberts, 2018 WL 1457306, at *6; Boudreaux v. Swift
Transp. Co., Inc., 402 F.3d 536, 540 (5th Cir. 2005).

4Reed, No. 2018 WL 3328424, at *2 ; Roberts, 2018 WL 1457306, at *6; Reeves v. Sanderson
Plumbing Prods., Inc., 530 U.S. 133, 150 (2000); Anderson, 477 U.S. at 254-55.
5Reed, No. 2018 WL 3328424, at *2 ; Roberts, 2018 WL 1457306, at *6; Matsushita Elec. Indus.
Co. v. Zenith Radio, 475 U.S. 574, 586 (1986).

6Reed, No. 2018 WL 3328424, at *2 ; Roberts, 2018 WL 1457306, at *6; Eason v. Thaler, 73
F.3d 1322, 1325 (5th Cir. 1996). Ragas, 136 F.3d at 458.




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         “The party opposing summary judgment is required to identify specific evidence

in the record and to articulate the precise manner in which that evidence supports his or

her claim.” 7 Rule 56 does not impose a duty on the court to “sift through the record in

search of evidence” to support the nonmovant’s opposition to the motion for

summary judgment. 8 If the nonmoving party fails to make a showing sufficient to

establish the existence of an element essential to its case and on which it will bear the

burden of proof at trial, summary judgment must be granted. Celotex, 477 U.S. at 322-

23.

         “Defendant need not disprove Plaintiff's claims, but need only to show that

Plaintiff, who bears the burden of proof, has adduced no evidence to support an element

essential to her claims.” 9

B. Plaintiff failed to adduce evidence on its affirmative defenses.

         Freehold has shown that the roofs of the Property need to be replaced due to the

April 3, 2014 storm. (See Appendix pages 80-81 at Deposition pages 7:18-10:2 and at

Appendix pages 106-315 and Appendix pages 316-581 and Appendix pages 593-594 at

Deposition pages 110:8-111:20 and at Appendix pages 658-743) Plaintiff and its experts

claim that the roofs were not damaged. (See generally Appendix page 30 at Deposition

page 107:6-10, Appendix Vol.2 page 1674 at Deposition page 86:21-25, and Appendix

page 812 at Deposition pages 69:19-70:3; Appendix page 856 at Deposition pages


7   Reed, No. 2018 WL 3328424, at *2 ; Roberts, 2018 WL 1457306, at *6.
8Reed, No. 2018 WL 3328424, at *2 ; Roberts, 2018 WL 1457306, at *6; see also Skotak v.
Tenneco Resins, Inc., 953 F.2d 909, 915-16 & n.7 (5th Cir. 1992).
9Stevenson  v. Nationwide Prop. & Cas. Ins. Co., No. 3:12-CV-4564-L, 2014 WL 1356504, at *4
(N.D. Tex. Apr. 7, 2014); see also Teply v. Mobil Oil Corp., 859 F.2d 375, 379 (5th Cir.1988)
(citing Celotex Corp. v. Catrett, 477 U.S. 317, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986)).




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247:4-20) In doing so, Plaintiff has failed to adduce any evidence on its affirmative

defenses that claim the damage is a result of something other than the subject storm.

      1. Failure to Mitigate

      In its amended answer to Freehold’s counterclaim, Plaintiff pleaded two

affirmative defenses that claim that Freehold failed to mitigate its damages. Those

affirmative defenses state:




(Document 26 at ¶11)




(Document 26 at ¶25)

      In discovery of this case, however, Plaintiff failed to produce any evidence that

Freehold failed to mitigate its damages. Specifically, Plaintiff’s corporate representative

testified that she was not aware of any damages to the roofs and has no facts, evidence,

or data on what Freehold should have done to protect the Property. (Appendix Vol. 2,

page 1672 at Deposition pages 79:12-80:23) She further testified that State Auto was

not contending during the claim process that Freehold had failed to protect the Property

from further damage. (Appendix Vol. 2, page 1677 at Deposition pages 98:10-99:1)




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      Plaintiff’s engineer, David Teasdale also testified that the roofs did not need to be

replaced and he did not think the roofs were damaged. (Appendix page 812 at

Deposition pages 69:19-70:3 and Appendix page 856 at Deposition pages 247:21-

248:13) More importantly, he testified that the roofs were in similar condition in 2014

and 2017 and that he found no further damage in the 2017 inspection. (Appendix page

856 at Deposition pages 248:19-24 and 246:1-247:1). Thus showing that there was no

further damage after the storm that Freehold failed to protect the Property from.

Because Plaintiff failed to produce any evidence that Freehold failed to mitigate its

damages, Freehold is entitled to summary judgment on this affirmative defense.

      2. Damage Occurred Outside the Policy Period

      For its next affirmative defense alleging an alternative source of damage, Plaintiff

pleaded:




(Document at 26 ¶25)

      Like its defense that Freehold failed to mitigate and protect the Property from

further damage, Plaintiff adduced no evidence that any alleged damages occurred

outside the policy period.

      Specifically, State Auto’s corporate representative testified that she didn’t recall

any facts, evidence or data that showed the roofs were damaged by other storms.

(Appendix Vol. 2, page 1673 at Deposition pages 81:7-82:12) David Teasdale testified

that he was not going to testify that storms before or after the April 3, 2014 storm



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caused damage to the built up roofs. (Appendix page 856 at Deposition page 248:7-24)

Likewise, Timothy Marshall, Plaintiff’s other engineer, testified that he would not

speculate on other storms causing hail or wind damage to the Property. (Appendix page

874 at Deposition pages 39:16-40:4 and Appendix page 875 at Deposition page 41:9-

12 and Appendix page 929 at Deposition page 10:1-22) Because Plaintiff failed to

produce any evidence that any alleged damage occurred outside the policy period,

Freehold is entitled to summary judgment on this affirmative defense.

      3. Damage Was Caused by Faulty Maintenance

      Finally, Plaintiff alleged that:




(Document at 26 ¶26)

Again, Plaintiff was unable to produce any evidence on this affirmative defense.

      State Auto’s representative testified that:

      -   She could not recall any faulty repair or maintenance that caused damage to
          the Property (Appendix Vol.2, page 1674 at Deposition page 88:3-23);

      -   She did not recall State Auto or David Teasdale determining there were
          maintenance defects at the Property (Appendix Vol. 2, page 1675 at
          Deposition pages 89:4-15);

      -   That underwriting determined the Property to have an adequate maintenance
          procedure and that she did not recall seeing anything in the file to show that
          maintenance at the Property was not accurate. (Appendix Vol. 2, page 1709
          at Deposition page 55:13-21);

      -   That underwriting had no maintenance recommendations or requirements for
          the Property (Appendix Vol. 2, pages 1709-1710 at Deposition pages 56:13-
          57:10); and



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      -   That upon renewal before the storm, underwriting found the property to be in
          good repair, have good housekeeping, and maintenance. (Appendix Vol. 2,
          page 1711 at Deposition page 61:9-61-14)

       Because Plaintiff failed to produce any evidence that any alleged damage was

caused by Freehold’s maintenance, Freehold is entitled to summary judgment on this

affirmative defense.

      WHEREFORE, PREMISES CONSIDERED, Defendants/Counter-Plaintiffs pray

that this Court grant their amended motion for partial summary judgment; grant final

judgment on these affirmative defenses to Defendants/Counter-Plaintiffs; and award

Defendants/Counter-Plaintiffs such other relief as may be proper.



                                                   Respectfully submitted,

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                           CERTIFICATE OF SERVICE

        I certify that the Freehold Entities have served a true and correct copy of the
foregoing document and attachments on August 30, 2018 through the Court’s electronic
filing (CM/ECF) system to the following counsel of record:

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